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                            UNITED STATES DISTRICT COURT
                                      FOR THE
                                DISTRICT OF VERMONT

 UNITED STATES OF AMERICA,                     Case No. 5:22-cr-58

                        Plaintiff,

                 v.

 SERHAT GUMRUKCU,

                        Defendant.




                SERHAT GUMRUKCU’S MOTION TO LIMINE NO. 2:
             MOTION TO EXCLUDE UNDISCLOSED EXPERT TESTIMONY

         Defendant Serhat Gumrukcu, by and through his attorneys of record, respectfully moves

in limine for an Order enforcing this Court’s Scheduling Order and precluding the Government

from introducing undisclosed expert testimony. As the prosecution recently briefed for this

Court:

                Federal Rule of Criminal Procedure 16(b)(1)(C) was recently
                amended to require [each party], for each expert witness, to
                provide “a complete statement of all opinions that the defendant
                will elicit from the witness,” along with “the bases and reasons for
                them.” Fed. R. Crim. P. 16(b)(1)(C)(iii). While this “does not
                require a verbatim recitation of the testimony the expert will give
                at trial,” it requires more than the “written summary” previously
                required under the Rules. Fed. R. Crim. P. 16 Adv. Comm. Notes,
                2022 Amendment. Even before Rule 16(b)(1)(C) was amended in
                2022, the advisory notes to the Rule recognized that the purpose of
                this requirement is “to provide the opponent with a fair opportunity
                to test the merits of the expert’s testimony through focused cross-
                examination” and “to permit more complete pretrial preparation,”
                Rule 16 Adv. Comm. Notes, 1993 Amendment, and this Court
                observed that “[m]erely identifying the general topics about which
                the expert will testify is insufficient; rather, the summary must
                reveal the expert's actual opinions.” Kaufman, 2021 WL 4084523,



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               at *19 (collecting cases); see also United States v. Valle, No. 12
               Cr. 847 (PGG), 2013 WL 440687, at *5 (S.D.N.Y. Feb. 2, 2013)
               (same). “If a [party] fails to provide disclosures in accordance with
               Rule 16(b)(1)(C), the district court may exclude the expert's
               testimony at trial.” Kaufman, 2021 WL 4084523, at *19; see also
               United States v. Mahaffy, No. 05 Cr. 613 (ILG), 2007 WL
               1213738, at *2 (E.D.N.Y. Apr. 24, 2007) (same).

ECF 194 at 2. 1 Fed. R. Crim. P. 16(a)(1)(G) first places these same disclosure obligations on the

prosecution.

       In this case, the Court directed “[t]he prosecution shall provide expert witness disclosure

and reports to the defense by May 1, 2024.” ECF 102 ¶ 3. The Government provided its notices

of expert witnesses. See Ex. A. Accordingly, Defendant Gumrukcu then understood that those

notices presented in full the “a complete statement of all opinions that the government will elicit

from the witness[es] in its case-in-chief,” along with “the bases and reasons for them.” Fed. R.

Crim. P. 16(a)(1)(G)(iii).

       Despite that well-founded understanding, at the end last week, on the afternoon of

January 16, defense counsel learned that the Government intended to offer undisclosed expert

testimony at trial. More granularly, the Government’s disclosures included the expert report of

FBI Special Agent Justin Woodford. See Ex. B. Therein, the Government first disclosed that

S/A Woodford would offer the following opinion:

               The Government will present evidence that Aron Ethridge received
               payment in bitcoin, which is a type of cryptocurrency, for his part
               in the murder-for-hire scheme. Ethridge then withdrew cash from
               a Coinflip ATM. SA Woodford was asked to review Coinflip data
               associated with Aron Ethridge. His testimony will be based on his
               review of that Coinflip data and his training, certifications, and
               experience.



       1
          ECF refers to the docket entries generated by the Electronic Court Filing system. We
pin-cite to the ECF-generated page numbers atop each filing.

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Ex. B at 1. In sum, this disclosure is limited to Ethridge and is limited to S/A Woodford’s

“review of that Coinflip data” and not other evidence.

       Thereafter, the report discloses more general information about Coinflip and

cryptocurrency, before it discloses its analysis of “wallet information for Ethridge’s

cryptocurrency account and the related blockchain entries.” Ex. B at 4. It summarized this

proffered expert testimony as follows:

               Specifically, SA Woodford’s review revealed that on March 4, 2020, someone
               with a Bitlo account sent approximately 1.11 Bitcoins (BTC) or $9,370 to wallet
               address lIMN aXnaP 1hFD9W zzNNVJGTRfyWL TII asE.

               On March 5, 2020, address IJMNaXnaPlhFD9WzzNNVJGTRfyWLTIIasE sent
               1.10988996 BTC ($9,737.93 USD) in transaction hash 83f2681
               d256694065e03691a36c51 d728a49fabee73ef92246685ea6ae705ee6. The
               amounts output in the transaction were 0.342201 BTC ($3,002.39 USD) to
               32xZ9tBYha9JA7a6VUb8WqcRjTmHMzw18P and 0.76768218 BTC ($6,735.47
               USD) to 1DPxpU3KyY6VudivZJvu7m1 YuQyEjSwAMa. Based on the UTXO
               method of matching the address type, Legacy type in this case, and the fact that
               CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM number
               BT300605, located at 450 Fremont Street #130 Las Vegas, NV 89101,
               (hereinafter "BT300605"), address 1DPxpU3KyY 6VudivZJvu7m 1YuQyEjSw
               AMa is likely a change address and in the same wallet as 1JMNaXnaP
               1hFD9WzzNNVJGTRfyWLTJ 1asE.

               On March 6, 2020, address 1DPxpU3KyY6VudivZJvu7m1YuQyEjSwAMa sent
               0.76768218 BTC ($6,966.57 USD) in transaction hash
               2976c83f1c5005afab340b592bOa0682775e1263e601eb2218d4e83f3cba8bec.
               The amounts output in the transaction were 0.343674 BTC ($3,118.77969 USD)
               to 394WsW3qUhFnuAFPAtgV58Gt83K3t7rdyF and 0.42397202 BTC
               ($3,847.46977 USD) to 1YGn14zH8AC4imFSMZBEYsn62RxCuBPi3. Based on
               the UTXO method of matching the address type, Legacy type in this case, and the
               fact that CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM
               number BT300605, address 1YGn14zH8AC4irnFSMZBEYsn62RxCuBPi3 is
               likely a change address and in the same wallet as 1DPxpU3KyY6VudivZJvu7m1
               YuQyEjSwAMa.

               On May 13, 2020, address lYGn14zH8AC4imFSMZBEYsn62RxCuBPi3 sent
               0.42397202 BTC ($3,739.9335 USD) in transaction hash c4f353fdO
               1087996dc60aaa281c33740 139f75a2f8a195f3e09aOd6f2278d1 cO. The amounts
               output in the transaction were 0.08861018 BTC ($781.64 USD) to
               19T5st3JYrnEPDEgPKawZ6XECoJ15wsJ72u and 0.335285 BTC ($2,957.60

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                USD) to 31skUTb8TbMqY1dFMYMh5ab9SbckJT7sP8. Based on the UTXO
                method of matching the address type, Legacy type in this case, and the fact that
                CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM number
                BT300860, located at 4305 Dean Martin Drive #120, Las Vegas, NV 89103,
                (hereinafter "BT300860"), address 19T5st3JYmEPDEgPKawZ6XECoJ15wsJ72u
                is likely a change address and in the same wallet as
                1YGn14zH8AC4imFSMZBEY sn62RxCuBPi3.

                On July 29,2020, address 19T5st3JYrnEPDEgPKawZ6XECoJ15wsJ72u sent
                0.08861018 BTC ($994.62 USD) in transaction hash
                988070be1c4a633e6d5bd41f9494aa7a8dOa8317ae3b4fe7367d064b784faOcc.
                The amounts output in the transaction were 0.00475748 BTC ($53.40 USD) to
                125tJwnJN4DRzvUWDNkCQoWM6vsmNErY1D and 0.083525 BTC ($937.54
                USD) to 3JpyPUp3SsxS8p1AVwxhow87Fh83PvAA8s. Based on the UTXO
                method of matching the address type, Legacy type in this case, and the fact that
                CoinFlip records revealed Ethridge placed a sell order at CoinFlip ATM number
                BT300860, address 125tJwnJN4DRzvUWDNkCQoWM6vsmNErYID is likely a
                change address and in the same wallet as 19T5st3JY
                mEPDEgPKawZ6XECoJ15wsJ72u.

                On April 6, 2021, addresses 15BG86X8QRwbqjJTfqy1 vVaplAZMBemtrv,
                125tJwnJN4DRzvUWDNkCQoWM6vsmNErY1D, and
                1DLF6BW7KrogZPYyETR92332d9Hy38vrN8 co-spent 0.00062461 BTC
                ($36.92 USD), 0.00475748 BTC ($281.26) USD, and 0.00093264 BTC ($55.13
                USD) respectively in transaction hash 66cce31 a7a1
                ea2287b6050ab776d1604fb66586df6706d35a56de5afc7ddl cda. The amount
                output in the transaction was 0.00600675 BTC ($355.11 USD) to 3DYnyYyCh3
                JcppmcZw 1rmVeWI LksZNgAzD. Based on the UTXO method of matching the
                address type, Legacy type in this case, and the fact that CoinFlip records revealed
                Ethridge placed a sell order at CoinFlip ATM number BT300860. Since
                15BG86X8QRwbqjJTfqylvVaplAZMBemtrv, l25tJwnJN4DRzvUWDNkCQo
                WM6vsmNErY 1D, and lDLF6BW7KrogZPYyETR92332d9Hy38vrN8 co-spent
                together, they are likely in the same wallet.

Ex. B at 5-6.

       Apart from the first entry, which does not identify the source of the original funding

transaction, the remaining entries—consistent with the limited expert notice—address Ethridge’s

ATM transactions within his CoinFlip account years after the alleged conspiracy and homicide. 2




       2
         The relevance of this evidence is lost on Gumrukcu, and he reserves the right to
interpose relevance and other evidentiary objections to this evidence at trial.
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        The Government continued its expert notice by summarizing its previous disclosures to

provide S/A Woodford’s conclusion:

                Below is the specific part of the chart that shows the transfers,
                including the specific "change addresses," that SA Woodford
                identified based on his review of the change address analysis
                described above. This represents SA Woodford's opinion that
                addresses that sent bitcoin to Coinflip are part of a wallet owner
                [sic] or administrated by Aron Ethridge.

Ex. B at 7. 3 The Government thus concluded its expert notice with a clear summary:

                In total, from reviewing the coinflip records, Special Agent
                Woodford identified five (5) transactions from Aron Ethridge's
                wallet to addresses controlled by Coinflip in order to withdraw
                cash equivalents of the value of the bitcoin.

Id. at 8.

        In sum, the Government disclosed that S/A Woodford’s testimony concerned Ethridge

and only Ethridge. Indeed, defendant Gumrukcu’s name appears nowhere in the Government’s

disclosure.

        Defendant was thus surprised last week when the Government suggested that the

Woodford expert notice actually disclosed that Gumrukcu funded Ethridge’s crypto wallet, and

that the Government would rely on foreign-sourced evidence (and perhaps other materials)

regarding IP addresses to support Woodford’s presentation of such expert testimony. The

problem is, of course, that the Government never has noticed any expert testimony regarding

either (1) Gumrukcu’s alleged connection to crypto payments to Ethridge, or (2) the subject of IP




        3
        It appears that the Government meant the account was “owned” by Ethridge and
“owner” is a typo in the disclosure. The prosecution should clarity this ambiguity in its response.
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addresses, how evidence of IP addresses is generated and maintained, or (3) any IP address

tracing. 4

        Because the Government did not provide any such notice of expert testimony on any such

subjects, the Court should enforce the case scheduling order, enforce Rule 16, and preclude the

Government from introducing any undisclosed expert testimony at trial generally, and

specifically from introducing any crypto evidence against Gumrukcu, and any IP tracing

evidence at all. The Government’s failure to notice any such expert testimony should preclude

the introduction of such surprise evidence.

        Defendant Gumrukcu requests oral argument at the February 4, 2025 hearing currently

scheduled. He has filed this motion in limine 14 days in advance of the hearing to provide the

United States the full complement of time to respond. See also June 10, 2024 Reporter’s

Transcript at 9:23-25; July 29, 2024 Reporter’s Transcript at 81:23-82:2.

        Dated this 21st day of January 2025.
                                               Respectfully submitted,


                                               /s/ Susan K. Marcus
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        4
        Alleged records relating to Gumrukcu’s accounts with Bitlo, a Turkish Crypto Currency
Company, were first disclosed to the defense on September 6, 2024. On December 11, 2024,
AUSA Van de Graaf emailed defense counsel with proposed exhibits and asked for a stipulation.
A call was scheduled with the Government in December; they asked to postpone and said they
would get back to us with a date. They reconnected in January, and we scheduled the call for
January 16, 2025. This was the first we learned, in an indirect way, that the Government was
planning to use Woodford to discuss the Bitlo accounts.
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